       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 1 of 25




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

CHRISTOPHER GARY SWOOPE,                       )
                                               )
      Plaintiff,                               )
                                               )
v.                                             ) Civ. A. No. 4:13-CV-00307-HML
                                               )
CSX TRANSPORTATION, INC.,                      )
                                               )
      Defendant.                               )

     CSX TRANSPORTATION, INC.’S OMNIBUS MOTION IN LIMINE
          WITH INCORPORATED MEMORANDUM OF LAW

      COMES NOW Defendant CSX Transportation, Inc. (“CSXT”) and hereby

submits this Omnibus Motion in Limine.

               I. MATTERS WHICH SHOULD BE EXCLUDED

      The Court should exclude any evidence, testimony, examination, or argument

regarding the following matters:

      1. Subsequent Remedial Measures. A team of CSXT officials investigated

Plaintiff’s accident and prepared a report. (See CSXT Ex. A hereto (Bates-stamped

CSXT 000009A-000069A); Pl.’s Trial Ex. 1, Ex. B hereto).           Both sides intend to

use portions of the report at trial, and it appears Plaintiff intends to offer a redacted

version of the report at trial. Nevertheless, out of an abundance of caution, CSXT

objects to the admission of portions of the report which propose subsequent
                                           1
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 2 of 25




remedial measures. See Fed. R. Evid. 407. The report, generated for the purpose of

analyzing the accident and preventing similar occurrences, includes a section

entitled “Investigative Team Results” which proposes that employees be “briefed . .

. to make sure they understand to remain alert for down trees and other debris during

and after stormy weather moves through the area,”           (CSXT Ex. A at CSXT

000014A-15A), along with a section entitled “Safety Action Plan” which similarly

proposes that train crews be briefed about “safety during severe weather” and the

need to be “especially alert when there is a possibility of debris on tracks.” (Id. at

CSXT 000069A.)

      These portions of the report should be excluded pursuant to Fed. R. Evid. 403

and 407. “[T]here is authority supporting the exclusion of evidence of post-accident

investigations under Rule 407.” Complaint of Consol. Coal Co., 123 F.3d 126, 136

(3d Cir. 1997) (concluding that the district court properly excluded a memorandum

regarding post-accident investigation). Courts in this Circuit have reached similar

conclusions. In Russell v. Page Aircraft Maintenance, Inc., 455 F.2d 188, 190-92

(5th Cir. 1972), the former Fifth Circuit held that the district court properly excluded

a report prepared the day after an accident which contained safety recommendations.

Likewise, in Alimenta v. Stauffer, 598 F. Supp. 934, 940 (N.D. Ga. 1984), the

district court concluded that a report prepared for the purpose of improving

                                           2
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 3 of 25




company “procedures and controls” was inadmissible under Fed. R. Evid. 403 and

407.

       Even those courts which have concluded that Rule 407 does not protect the

factual findings of an investigation have nonetheless required the redaction of

documents which propose or direct subsequent remedial measures.1 Even assuming

arguendo that Rule 407’s ambit “includes only the actual remedial measures

themselves and not the initial steps toward ascertaining whether any remedial

measures are called for,” Fasanaro, 687 F. Supp. at 487, the Court should exclude

those portions of the report which propose subsequent remedial activity.

       2. Implicit appeals for punitive damages. The “[d]amages recoverable in

an FELA action are compensatory only.” See, e.g., Central of Georgia R. Co. v.

Swindle, 260 Ga. 685, 686, 398 S.E.2d 365, 366 (1990).2 Arguments suggesting or

implying the railroad was grossly negligent, has improper motives, or should be

1
  See, e.g., Edsall v. CSX Transp., Inc., 106-CV-389, 2008 U.S. Dist. LEXIS 6247,
at *15-17 (N.D. Ind. Jan. 28, 2008) (concluding in FELA action that portions of
railroad’s post-accident investigation report which proposed corrective action were
barred by Fed. R. Evid. 407); see also Thornton v. Diamond Offshore Drilling, Inc.,
Civ. A. No. 07-1839, 2008 U.S. Dist. LEXIS 53577, at *20-22 (E.D. La. May 19,
2008); Williams v. Asplundh Tree Expert Co., 305-CV-479, 2006 U.S. Dist. LEXIS
73238, at *15-17 (M.D. Fla. Oct. 6, 2006); cf. Fasanaro v. Mooney Aircraft Corp.,
687 F. Supp. 482, 487 (N.D. Cal. 1988) (allowing evidence of post-accident testing
but excluding reference to post-event design changes in product-liability case).
2
 See also Kozar v. Chesapeake & O. R. Co., 449 F.2d 1238, 1240 (6th Cir. 1971);
Boyd v. Cinmar of Gloucester, 919 F. Supp. 208, 210 (E.D. Va. 1996).
                                         3
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 4 of 25




punished are inappropriate and prejudicial. See id. Nor may counsel “ask[] the jury

as the ‘conscience of the community’ to ‘send a message with its verdict,’” or offer

“his personal opinion as to . . . the justness of his client’s cause and the perfidy of

the defendant.” Maercks v. Birchansky, 549 So.2d 199, 199-200 (Fla. App. 3d Dist.

1989); see also Neal v. Toyota Motor Corp., 823 F. Supp. 939, 943 (N.D. Ga. 1993)

(concluding that counsel’s “‘send the message’ argument” was improper and

prejudicial).

      3. “Golden Rule” arguments or requests for jurors to “put themselves in

Plaintiff’s shoes.” A plaintiff is not allowed to arouse the jury’s sympathy by

exhorting the jury to “place itself in a party’s shoes.” See, e.g., Burrage v. Harrell,

537 F.2d 837, 839 (5th Cir. 1976). “The so-called ‘Golden Rule’ argument urges

the jurors to place themselves in the position of [the] plaintiff or to allow such

recovery as they would wish if in the same position.”            Naimat v. Shelbyville

Bottling Co., 240 Ga. App. 693, 697, 524 S.E.2d 749 (1999) (citing Opatut v. Guest

Pond Club, 188 Ga. App. 478, 481, 373 S.E.2d 372) (1988)). “It is improper because

it asks the jurors to consider the case, not objectively as fair and impartial jurors, but

rather from the biased, subjective standpoint of a litigant.” Id.

      4.   Reference to the congressional intent or purpose of the FELA.

References to “the history of the Federal Employers’ Liability Act and the reasons

                                            4
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 5 of 25




behind its enactment” have “no place in the jury’s deliberations as to the merits of

th[e] case.” Atl. Coast Line R. Co. v. McDonald, 103 Ga. App. 328, 339, 119

S.E.2d 356, 364 (1961); see also Stillman v. Norfolk & W. R. Co., 811 F.2d 834,

838 (4th Cir. 1987).      Arguments addressed to the jury regarding the FELA’s

purpose, intent, or history are improper and prejudicial. McDonald, 103 Ga. App. at

339, 119 S.E.2d at 364.

      5. Reference to Plaintiff’s ineligibility for “worker’s compensation” or

the (un)availability of any benefit, recovery, or remedy apart from the FELA.

References to a plaintiff’s ineligibility for workers’ compensation benefits or to the

exclusivity of remedies under the FELA are both irrelevant and prejudicial.3

      6. Reference to (a) other settlements, verdicts or lawsuits; or (b) other

accidents, injuries or occurrences.      Should Plaintiff attempt to refer to other

occurrences or claims, CSXT requests the Court to require a showing of substantial

similarity before allowing Plaintiff to introduce any such evidence. See, e.g., Tran

v. Toyota Motor Corp., 420 F.3d 1310, 1316 (11th Cir. 2005) (explaining “doctrine

of substantial similarity”); see also Reid v. BMW of N. Am., 464 F. Supp. 2d 1267,

3
  See Norfolk Southern Ry. Co. v. Thompson, 208 Ga. App. 240, 241-42 (1993)
(citing Stillman, 811 F.2d at 838); Kodack v. Long Island R. Co., 342 F.2d 244, 247
(2d Cir. 1965)); Tucker v. Kansas City Southern R. Co., 765 S.W.2d 308, 311(3)
(Mo. App. 1988); see also Toth v. Grand Trunk R.R., 306 F.3d 335, 355 (6th Cir.
2002) (noting that the jury “should not consider the availability or unavailability of
other forms of compensation in deciding the underlying issue of liability”).
                                          5
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 6 of 25




1271 (N.D. Ga. 2006) (citing Heath v. Suzuki Motor Corp., 126 F.3d 1391, 1396

n.12 (11th Cir. 1997); Jones v. Otis Elevator Co., 861 F.2d 655, 661-62 (11th Cir.

1988)). Absent a showing of substantial similarity, evidence of prior accidents is

both irrelevant and unduly prejudicial. See Heath, 126 F.3d at 1396.

      Not only must Plaintiff show that the prior accident occurred under similar

conditions and shared the same alleged cause as the incident in question, he should

also be required to show that the prior incident did not occur “too remote in time.”

Hessen v. Jaguar Cars, Inc., 915 F.2d 641, 649 (11th Cir. 1990). Even after a

showing of substantial similarity has been made, the Court may nonetheless exclude

evidence of other accidents if the admission of such evidence would result in undue

prejudice, confusion of the issues, or waste of time. Reid, 464 F. Supp. 2d at 1271;

see also Wilson v. Bicycle South, Inc., 915 F.2d 1503, 1510 (11th Cir. 1990).

      7. Suggestion that CSXT could have provided a “safer” place to work or

used alternative methods offered without reference to whether CSXT exercised

reasonable care.    CSXT recognizes that, as a general rule, evidence of safer

alternative methods is both relevant and admissible. See, e.g., Stone v. New York,

Chicago, & St. Louis R.R. Co., 344 U.S. 407, 409 (1953). However, under the

FELA, “the proper inquiry is whether the method prescribed by the employer was

reasonably safe, not whether the employer could have employed a safer alternative

                                         6
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 7 of 25




method for performing the task.” McKennon v. CSX Transp., 897 F. Supp. 1024,

1027 (M.D. Tenn. 1994) (citing Stillman, 811 F.2d at 838). Indeed, the availability

of alternative methods is of “no significance” if the method employed “was not an

inherently unsafe one.”4 Id. (citing Soto v. S. Pac. Transp. Co., 644 F.2d 1147,

1148 (5th Cir. 1981)).     Plaintiff should not be allowed to “attempt to prove

negligence ‘in a vacuum’ by showing that safer equipment could have been used,

irrespective of whether the equipment actually used met the standard of reasonable

care.” Combs v. Norfolk & W. Ry. Co., 256 Va. 490, 497, 507 S.E.2d 355,

359 (1998). The Court should exclude any argument that the mere existence of

alternative methods is proof that CSXT acted negligently.

      8. Reference to Plaintiff’s (a) good character, truthfulness, or reputation

for safety on the job; or (b) lack of employee discipline. CSXT expects Plaintiff

to devote argument at trial to his supposed good character, truthfulness, and lack of

employee discipline.     Evidence of Plaintiff’s character or traits should not be

admitted for the purpose of proving that he acted in conformity therewith on the date

4
  CSXT’s duty is to provide a reasonably safe place to work, not to maintain a
perfect working environment or to provide the latest or best tools, technology, or
equipment. See Chicago & Northwestern Ry. Co. v. Bower, 241 U.S. 470, 474,
(1916) (explaining railroad “is not required to furnish [the employee with] the latest,
best, and safest appliances, or to discard standard appliances upon the discovery of
later improvements, provided those in use are reasonably safe and suitable”); Van
Gorder v. Grand Trunk W. R.R., 509 F.3d 265, 269 (6th Cir. 2007) (explaining
railroad required only to act reasonably, not “to eliminate all workplace dangers”).
                                          7
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 8 of 25




of his accident. See Fed. R. Evid. 404. Similarly, evidence of a witness’s “truthful

character is only admissible after the witness’s character for truthfulness has been

attacked.” Fed. R. Evid. 608(a). More generally, evidence of Plaintiff’s supposed

good character, work history, or the absence of prior employee discipline is

irrelevant. See, e.g., Johnson v. Union Pac. R.R. Co., 805-CV-373, 2007 U.S. Dist.

LEXIS 74423, at *11-12 (D. Neb. Oct. 4, 2007).

      Nor should the Court allow Plaintiff to present evidence that CSXT did not

charge him with any violation of work rules following the accident unless CSXT

opens the door by arguing at trial that Plaintiff broke work rules. “[I]f Defendant

does not present evidence that Plaintiff violated work rules, then Plaintiff's

introduction of the investigation and/or subsequent decision not to charge him with

any violation is irrelevant and will not be permitted.” Gaskins v. CSX Transp., Inc.,

104-CV-2952, 2006 U.S. Dist. LEXIS 100826, at *21 (N.D. Ga. Sept. 5, 2006).

      9. Statements by Plaintiff regarding anything his physicians allegedly

told him. Although Plaintiff may testify as to treatment he has received, he may not

offer hearsay regarding what his physician allegedly told him. See, e.g., Rudd v.

Geneva County Comm’n, Case No. 1:06-CV-233-WKW, 2008 U.S. Dist. LEXIS

102553, at *21 (M.D. Ala. Dec. 18, 2008) (describing such testimony as “rank

hearsay”) (citing Macuba v. DeBoer, 193 F.3d 1316, 1324-25 (11th Cir. 1999)).

                                         8
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 9 of 25




CSXT asks the Court to preclude Plaintiff from offering testimony regarding

statements his medical providers may have made regarding Plaintiff’s diagnosis,

prognosis, disability, or impairment.

      10. Reference to conversations Plaintiff has had with other people

regarding the pertinent events. Similarly, evidence of statements made by non-

parties during conferences, conversations, or discussions with Plaintiff constitutes

inadmissible hearsay.      Fed. R. Evid. 801.   Plaintiff should be prohibited from

relaying the substance of any statements made by others in conversation regarding

the underlying accident.

      11. Medical expenses paid by CSXT. CSXT paid the bulk of Plaintiff’s

medical expenses under a group insurance contract; thus, Plaintiff should be

prohibited from presenting these expenses to the jury as part of his claim for

damages or as somehow bearing on the severity of his injuries. In this regard, the

Georgia Court of Appeals has explained that CSXT’s payments of medical expenses

under group insurance contracts are not from a collateral source. See CSX Transp.,

Inc. v. Williams, 230 Ga. App. 573, 577, 497 S.E.2d 66, 69-70 (1998). Because

these payments “are not from a collateral source . . . the plaintiff should be denied

the right to offer evidence of medical bills in support of its claim for damages on the

ground that those damages have already been paid to the plaintiff.” Ford v. Nat’l

                                           9
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 10 of 25




R.R. Passenger Corp., 734 F. Supp. 215, 216-17 (D. Md. 1990); see also Fuhrman v.

Reading Co., 439 F.2d 10, 14 (3d Cir. 1971) (concluding that trial court erred in

permitting jury to award medical expenses that “had in fact been paid by the

defendant”).   Evidence of medical bills or expenses which CSXT has paid is

irrelevant.5 Indeed, to allow Plaintiff to present evidence of such expenses could

enable him to receive a “windfall.” Clark v. Nat’l R.R. Passenger Corp., 654 F.

Supp. 376, 378 (D.D.C. 1987). At a minimum, if Plaintiff is allowed to present

evidence of medical expenses, the jury should be informed that CSXT has in fact

paid those expenses pursuant to a collective bargaining agreement (and not as an

admission of fault).

      12. Reference to any discovery dispute, including any alleged failure or

refusal to produce any document, statement, or other evidence.            Discovery

disputes are simply irrelevant to the questions being tried by the jury and should be

excluded. See Fed. R. Evid. 401. Further, references to such disputes are both

improper and prejudicial. See, e.g., McPheeters v. Black & Veatch Corp., 427 F.3d

5
  See Varhol v. Nat’l R.R. Passenger Corp. 909 F.2d 1557, 1565-1566 (7th Cir.
1990) (en banc) (per curiam) (concluding that medical bills were of questionable
relevance and that “the possibility of jury confusion, misuse, and double-recovery
outweighed the bills’ probative value”); Muzzleman v. Nat’l Rail Passenger Corp.,
839 F. Supp. 1094, 1097 (D. Del. 1993) (excluding evidence of medical expenses);
Lyons v. S. Pac. Transp. Co., 684 F. Supp. 909, 911 (W.D. La. 1988) (same);
Gonzalez v. Indiana Harbor Belt R.R. Co., 638 F. Supp. 308, 310 (N.D. Ind. 1986)
(same).
                                         10
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 11 of 25




1095, 1101 (8th Cir. 2005) (affirming district court’s “refus[al] to inject [a]

discovery dispute into the trial”).

      13. Reference to persons present in the courtroom who are not active

participants or witnesses in the trial, such as CSXT claims personnel. At best,

any such reference would be wholly irrelevant; at worst, such comments could

unduly prejudice CSXT. See Fed. R. Evid. 401-403; see also Ray v. Ford Motor

Co., No. 3:07cv175, 2011 U.S. Dist. LEXIS 143121, at *17-18 (M.D. Ala. Dec. 13,

2011) (granting motion in limine to preclude reference to the presence or absence of

Ford representatives in the courtroom); Prescott v. CSX Transp., Inc., No. CV-512-

013, 2013 U.S. Dist. LEXIS 40438, *20 (S.D. Ga. Mar. 22, 2013) (“The presence of

non-participating CSXT representatives in the courtroom is irrelevant.”). CSXT

requests the Court to exclude any reference to the presence or absence of corporate

representatives or claims personnel.

      14. References to cumulative/repetitive trauma, “wear and tear,” that

Plaintiff “gave his life” to the railroad, or that CSXT “used him up.” Plaintiff

claims he was injured following a discrete occurrence. Therefore, any comments

related to Plaintiff “wearing out” or the like would be irrelevant, inflammatory, and

improper. Fed. R. Evid. 401-403.




                                         11
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 12 of 25




      15. References to: (a) the relative status of the parties; (b) CSXT’s

alleged size, wealth, or power; or (c) Plaintiff’s financial condition. Comments

or evidence concerning CSXT’s corporate status, size, wealth, financial condition,

or “power” are wholly irrelevant and plainly prejudicial. 6 Similarly, comments or

arguments meant to highlight alleged disparities in the relative standing or financial

condition of the parties are improper.7,8 It is also inappropriate for a plaintiff to

attempt to arouse the jury’s sympathy with references to his own financial condition

or poverty. See Norfolk S. Ry. Co. v. Thompson, 208 Ga. App. 240, 246, 430

6
 See Adams v. Camp Harmony Ass’n, Inc., 190 Ga. App. 506, 508, 379 S.E.2d 407,
409 (1989) (holding counsel’s comments regarding “the financial condition of
defendant and its ability to continue to operate in the face of a large judgment” were
prejudicial); see also Gonzalez v. Volvo of Am. Corp., 734 F.2d 1221, 1225-26 (7th
Cir. 1984) (ordering new trial where counsel repeatedly referred to defendant’s
corporate size and portrayed it as preying on innocent consumers); City of
Cleveland v. Peter Kiewet Sons’ Co., 624 F.2d 749, 756-757 (6th Cir. 1980) (noting
counsel’s “pervasive misconduct” and continuous references to the size and power
of defendant).
7
  See CSX Transp., Inc. v. Levant, 262 Ga. 313, 314, 417 S.E.2d 320, 321 (1992)
(holding that the plaintiff’s characterization of his case as a dispute between a “labor
man” and “the big railroad” was improper); Strickland v. Stubbs, 218 Ga. App. 279,
282, 459 S.E.2d 473, 476 (1995) (Beasley, C.J., concurring specially) (“‘[N]either
the wealth of the plaintiff nor the defendant is relevant.’”) (quoting Denton v. Con-
Way S. Express, 261 Ga. 41, 42, 402 S.E.2d 269 (1991)); Am. Cas. Co. v.
Seckinger, 108 Ga. App. 262, 263, 132 S.E.2d 794, 796 (1963) (explaining
argument regarding “differences between the parties respecting their financial
ability” is improper, irrelevant, and unduly prejudicial).
8
  References to the “nature or size” of a party’s law firm are likewise improper. See,
e.g., Sanders v. Johnson, 859 S.W.2d 329, 332 (Tenn. App. 1993).
                                          12
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 13 of 25




S.E.2d 371, 376-77 (1993) (concluding that counsel’s reference to the plaintiff’s

financial straits was improper); cf. Shaps v. Provident Life & Acc. Ins. Co., 244

F.3d 876, 886 (11th Cir. 2001) (noting general rule that “a jury should not be

advised about the wealth or poverty of the parties”).

      16. Suggestion that Plaintiff is entitled to lost future wages/earning

capacity. Although the pretrial order does not refer to future lost wages/earning

capacity, Plaintiff previously indicated he seeks recovery for lost “future income and

benefits.” (See doc. no. 15 at 4.) Plaintiff returned to work without restrictions and

is working full-time. (See Oskouei Dep. at 29 (attached hereto as Ex. D); Pl.’s Dep.

at 27, 29, 114.) According to Plaintiff, he is “having a blast,” intends to continue

working until he is eligible for retirement at age sixty (60),9 and “might work over.”

(Pl.’s Dep. at 30.) Plaintiff is able to ride his bike and work out at the gym. (Id. at

22-26.) Finally, none of Plaintiff’s physicians has opined that Plaintiff’s alleged

injuries will affect his work-life expectancy. (See Oksouei Dep. at 29 (explaining

that he could not opine “to a reasonable degree of medical certainty” that Plaintiff

would suffer any further injury to his back).)




9
  As discussed infra, railroad employees like Plaintiff with 30 years of service are
eligible to begin receiving full retirement benefits at age 60. See 45 U.S.C. §
231a(a)(1)(ii)-(iii).
                                          13
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 14 of 25




      Under the FELA, a “plaintiff may recover damages for such results of the

defendant’s wrong as the plaintiff will probably suffer in the future.” Dalebout v.

Union Pac. R.R. Co., 980 P.2d 1194, 1198 (Utah App. 1999) (emphasis original;

internal quotations omitted). Stated differently, a FELA plaintiff must demonstrate

a “reasonable certainty of future damages” to warrant a jury charge on that issue.

Trejo v. Denver & Rio Grande W. R.R. Co., 568 F.2d 181, 184 (10th Cir. 1977).

      An FELA claimant is only entitled to recover the difference in what he was

able to earn before the alleged injury and what he could have earned thereafter. See,

e.g., Trejo, 568 F.2d at 184 (citing Taylor v. Denver & Rio Grande W. R.R. Co.,

438 F.2d 351, 354 (10th Cir. 1971); Baker v. Baltimore & Ohio R.R. Co., 502 F.2d

638, 644 (6th Cir. 1974)). Similarly, “if a plaintiff shows that his injury has caused

a diminution in his ability to earn a living, he or she may recover damages covering

the extent to which the railroad’s negligence caused the diminution in earning

capacity.” Fashauer v. New Jersey Transit Rail Ops., Inc., 57 F.3d 1269, 1284 (3d

Cir. 1995) (emphasis added; alteration and internal quotation marks omitted).

However, recovery of lost future earnings “is appropriate only where the plaintiff

‘has produced competent evidence suggesting that his injuries have narrowed the

range of economic opportunities available to him.’”         Id. (quoting Gorniak v.

National R.R. Passenger Corp, 889 F.2d 481, 484 (3d Cir. 1989)).

                                         14
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 15 of 25




      By his own admission, Plaintiff has no evidence his injury will affect his

ability to earn money in the future. Nor is there any evidence showing Plaintiff’s

injury has adversely affected his current or future wages. Plaintiff has not come

forward with any non-speculative medical testimony demonstrating that his injury

will affect his ability to work or narrow the range of gainful employment

opportunities available to him. Likewise, Plaintiff has not identified any evidence—

such as expert testimony from an economist— explaining the injury’s effect on his

future income stream.

      In sum, any lost future wages/earning capacity claims are devoid of

evidentiary support and should be deemed abandoned.          Consequently, Plaintiff

should be precluded from arguing or presenting unsupported lost future

wages/earning capacity claims to the jury.       Fashauer, 889 F.2d at 1284-85;

Quinones-Pacheo v. American Airlines, 979 F.2d 1, 6-7 (1st Cir. 1992).

      17. Argument that CSXT should have sent a track inspector ahead of

Plaintiff’s train or assertion that Plaintiff’s train was a “hot train.” The Court

granted summary judgment to CSXT on Plaintiff’s claim that CSXT failed to

inspect the subject track in accord with federal regulations. (Doc. no. 81 at 37.)

However, the Court suggested genuine issues of fact remain as to whether CSXT

should have issued a flash flood warning, directed Plaintiff to proceed at restricted

                                         15
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 16 of 25




speed, or sent a track inspector ahead of Plaintiff’s train. (Id. at 43-44.) The Court

also concluded that Plaintiff’s common-law inspection claims should survive

summary judgment. (Id. at 45-46.)

      As CSXT has noted elsewhere, the Federal Railroad Administration (“FRA”)

“prescribes comprehensive national track safety standards which address

maintenance, repair, and inspection of tracks.” Duluth, Winnipeg, & Pac. Ry. Co.

v. City of Orr, 529 F.3d 794, 795-796 (8th Cir. 2008) (citing 49 C.F.R. Part 213)

(emphasis supplied). As the Court has already determined, CSXT complied with

this comprehensive scheme of FRA regulations which:

      establish a specific inspection protocol including how, 49 C.F.R. §
      213.233(b), when, §§ 213.233(c) & .237(a)-(c), and by whom, §§
      212.203, 213.7 & .233(a), track inspections must be conducted; the
      regulations establish a national railroad safety program intended to
      promote safety in all areas of railroad operations, § 212.101(a); federal
      and state inspectors determine the extent to which the railroads,
      shippers, and manufacturers have fulfilled their obligations with respect
      to, among other things, inspection, § 212.101(b)(1); and railroads face
      civil penalties for violations, § 213 App. B. It is clear the FRA
      regulations are intended to prevent negligent track inspection…

Lundeen v. Canadian Pacific Railway Co., 447 F.3d 606, 614 (8th Cir. 2006)

(“Lundeen I”), vacated on other grounds, 532 F.3d 682, 688 (8th Cir. 2008)

(“Lundeen II”).10    Courts have determined that the FRA’s track inspection


10
  The Eighth Circuit vacated Lundeen I following amendments to 49 U.S.C. §
20106; however, the Eighth Circuit did not disturb its earlier conclusion that FRA
                                         16
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 17 of 25




regulations substantially subsume, and thus preempt, negligent inspection claims not

based on a violation of federal regulations. See id.11 Accordingly, the FRA’s track

inspection regulations preclude any claim that CSXT should have sent a track

inspector ahead of Plaintiff’s train.12

      In this regard, the FRA has not only prescribed requirements for the regular

inspection of track, but also promulgated regulations specifying when special

inspections and other actions are required in response to weather events. See 49

C.F.R. § 213.239.13 There is no evidence—and Plaintiff has never alleged—that

CSXT violated 49 C.F.R. § 213.239.




track safety standards preempt common law negligent inspection claims. See
Lundeen II, 532 F.3d at 687-88.
11
  See also Fed. Ins. Co. v. Burlington N. & Santa Fe Ry. Co., 270 F. Supp. 2d 1183,
1187 (C.D. Cal. 2003) (“[T]he maintenance, repair, and inspection of track
conditions is directly and comprehensively covered by the FRSA.”); Harris v.
Norfolk S. Ry. Co., 2012 U.S. Dist. LEXIS 176488, at *17-19 (S.D. W. Va. Dec.
12, 2012) (concluding inspection claim based on violation of internal company rules
was preempted by FRA regulations), rev’d on other grounds, 784 F.3d 954, 2015
U.S. App. LEXIS 7160 (4th Cir. Apr. 30, 2015).
12
   Cf. Waymire v. Norfolk & W. Ry. Co., 218 F.3d 773, 776 (7th Cir. 2000)
(holding FRA train speed regulations precluded FELA excessive speed claim); see
also Norris v. Cent. of Ga. R.R. Co., 280 Ga. App. 792, 795, 635 S.E.2d 179, 183
(2006) (following Waymire to conclude FRA regulation precluded ballast claim).
13
  49 C.F.R. § 213.239 provides: “In the event of fire, flood, severe storm, or other
occurrence which might have damaged track structure, a special inspection shall be
                                          17
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 18 of 25




      Section 213.239 requires special inspections only after floods or severe

storms. While it is undisputed that rain fell in the area of milepost 396 on April 28,

2013, there is no evidence of “fire, flood, severe storm, or other occurrence which

might have damaged track structure” so as to trigger § 213.239.         To the contrary,

weather data from a nearby National Climatic Data Center for April 27-8, 2013

reveals only minor weather conditions.14 As the Court has previously noted, a

CSXT train traversed the subject track two hours before Plaintiff’s train at 8:37 a.m.

without incident (Golden Dep. at 15 (attached hereto as Ex. E)), and weather

conditions over the next two hours were substantially similar to the generally

prevailing conditions on April 27 and April 28, 2013.15 There simply is no evidence

of severe weather meriting a special inspection under the regulation.



made of the track involved as soon as possible after the occurrence and, if possible,
before the operation of any train over that track.”
14
   For example, on April 27, 2013, the Cartersville Airport experienced two hours
and fifty-two minutes of rain, for a total rainfall of .35 inches, with a maximum
wind gust of 21 miles per hour. (See CSXT Ex. C, NOAA Certified Weather Data
for Cartersville Airport on April 27, 2013 (attached).) On April 28, 2013, between
12:00 a.m. and 12:00 p.m., the Cartersville Airport experienced three hours and
fifty-four minutes of rain for a total rainfall of .86 inches with a maximum wind gust
of 17 miles per hour. (See CSXT Ex. C, NOAA Certified Weather Data for
Cartersville Airport on April 28, 2013 (attached).)
15
   (See CSXT Ex. C, NOAA Certified Weather Data for Cartersville Airport on
April 28, 2013 (showing .42 inches of rainfall between 8:00 a.m. to 9:00 a.m., .05
inches of rainfall between 9:00 a.m. and 10:00 a.m., and only trace amounts of
                                         18
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 19 of 25




      The FRA’s guidance regarding § 213.239 suggests that only weather severe

enough to trigger a warning from the National Weather Service (“NWS”) (e.g., for a

flash flood) warrants a special inspection. See Notice of Safety Advisory, 62 Fed.

Reg. 46793, 46794-95 (1997) (advising railroads to adopt a practice to receive

notifications of flash flood warnings issued by the NWS and conduct special

inspections when such warnings are issued). In stark contrast to the kinds of events

the FRA has explained trigger a special inspection, here CSXT received no alerts of

severe weather for the subject track on the day of the incident (see Golden Dep. at

20-22), Plaintiff recalls nothing significant about the weather on the day of the

incident other than light to moderate rain (see Pl.’s Dep. at 54, 60), and there was no

damage to track structure. Accordingly, CSXT had no duty under the FRA’s track

inspection regulations to conduct a special inspection or to issue a flash flood

warning.

      CSXT is not required to inspect its track every time it rains.         Although

Plaintiff points to video evidence of water in a ditch, he has presented no evidence

of a weather event of such magnitude as to put CSXT on notice of any danger to rail

traffic. CSXT respectfully requests the Court to reconsider these issues and grant

this motion in limine.

rainfall between 10:00 a.m. and 11:00 a.m., with rainfall occurring from 8:07 a.m.-
9:34 a.m. and from 10:14 a.m.-10:24 a.m.).)
                                          19
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 20 of 25




       Likewise, Plaintiff should be prohibited from offering irrelevant evidence or

argument that Plaintiff’s train was a “hot train.” There is no evidence that CSXT

ignored safety concerns when it decided to send the track inspector behind

Plaintiff’s train—particularly when another freight train had traversed the subject

track without incident just two hours earlier. (See Golden Dep. at 15.) Rather,

Plaintiff seeks to make a naked accusation of “profit motive” in hopes the jury will

act on prejudice towards a large, foreign corporation. The argument is also an

implicit appeal to the jury to punish CSXT, which the Court should not allow for the

reasons discussed supra at Part I(2). Given the undisputed evidence that CSXT

complied with comprehensive FRA regulations governing track inspection and

safety, the Court should exclude any such argument pursuant to Fed. R. Evid. 401-

403.

               II. MATTERS WHICH SHOULD BE ADMITTED

       The following matters should be admitted into evidence at trial:

       1. Plaintiff’s eligibility for full retirement benefits at age 60. If Plaintiff is

allowed to present a claim for lost future wages or earning capacity, the Court

should allow CSXT to present evidence of Plaintiff’s probable retirement age.

Railroad employees like Plaintiff with 30 years of service are eligible to begin

receiving full retirement benefits at age 60. See 45 U.S.C. § 231a(a)(1)(ii)-(iii).

                                           20
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 21 of 25




      Evidence regarding Plaintiff’s probable retirement age bears directly on his

work-life expectancy and should be admitted. See Norfolk S. Ry. Corp. v. Henry

Tiller, 179 Md. App. 318, 326-27, 944 A.2d 1272, 1278 (2008) (“On the issue of the

loss of future wages, the age at which the injured employee would have been

expected to stop working, had the accident never occurred, is obviously very

material. The employee's eligibility for retirement benefits at a particular age,

moreover, is unquestionably relevant evidence as to the probable age at which the

employee might have been expected to stop working.”).16 Thus, even if the Court

determines that evidence of the potential amount of any future retirement benefits

should be excluded, evidence of Plaintiff’s potential eligibility for early retirement

should nevertheless be admitted.17 At a minimum, CSXT should be allowed to

present evidence regarding the actual retirement age and work-life expectancies of

16
  Although the Tiller court ultimately decided that evidence of future retirement
benefits should be excluded, 179 Md. App. at 340, 944 A.2d at 1286, the panel did
acknowledge the obvious materiality of evidence of the plaintiff’s eligibility to
retire.
17
   See Cowden v. BNSF Ry. Co., 980 F. Supp. 2d 1106, 1127 (E.D. Mo. Oct. 30,
2013) (allowing evidence that claimant was eligible for retirement at 60); Stevenson
v. Union Pac. R.R. Co., No. 4:07CV00522-BSM, 2009 WL 652932, at *3, 2009
U.S. Dist. LEXIS 22835, at *6 (E.D. Ark. Mar. 12, 2009) (“Defendant can introduce
evidence that plaintiff would be eligible to retire at age 60, however it will be
precluded from introducing evidence as to the availability of retirement benefits or
the amount.”); Gaskins v. CSX Transp., Inc., 2006 U.S. Dist. LEXIS 100826, at *23
(N.D. Ga. Sept. 5, 2006) (allowing CSXT “to offer evidence that Plaintiff would be
eligible for retirement at age 60”).
                                         21
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 22 of 25




railroad workers. See, e.g., CSX Transp., Inc. v. Pitts, 430 Md. 431, 470-471, 61

A.3d 767 (2013).

      2. Weather Records from the National Oceanic & Atmospheric

Administration (“NOAA”). CSXT Trial Ex. 35 (attached hereto as Ex. C) (see

doc. no. 88 at 62) consists of certified NOAA weather reports for April 27-28, 2013

(discussed supra at footnotes 14 & 15). Plaintiff objects to the use of this exhibit on

the ground that CSXT did not produce it during discovery, but contests neither the

relevancy nor the accuracy of the information. (See doc. no. 88 at 65.)

      CSXT respectfully requests the Court to take judicial notice of the NOAA

weather data pursuant to Fed. R. Evid. 201.18     “[T]he law is abundantly clear that

under Fed. R. Evid. 201, a court may take judicial notice of ‘specific facts’ found in

governmental weather reports, such as precipitation for a discrete period of time,

temperature range, wind direction, and time of sunset.”19 Contrary to Plaintiff’s


18
  The certified NOAA records are also admissible government reports pursuant to
Fed. R. Evid. 803(8). See, e.g., Tommaseo v. United States, 75 Fed. Cl. 799, 806-07
(2007) (citing In re Complaint of Munyan, 143 F.R.D. 560, 566 (D.N.J. 1992)).
And, as public agency publications, the certified NOAA records are self-
authenticating. See id. (citing Fed. R. Evid. 902(5)).
19
  Great Am. Ins. Co. v. Summit Exterior Works, LLC, No. 3:10-CV-1669, 2012
U.S. Dist. LEXIS 24780, at *4 (D. Conn. Feb. 27, 2012) (citing Heilman v. Lyons,
No. 2:09-CV-2721, 2012 U.S. Dist. LEXIS 13303, 2012 WL 371600, at *8 (E.D.
Cal. Feb. 3, 2012); Sadler v. Michigan Dept. of Corr., Civ. Action No. 09-11375,
2011 U.S. Dist. LEXIS 64426, 2011 WL 2462028, at *7 (E.D. Mich. Apr. 21,
                                          22
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 23 of 25




argument, discovery is generally not “‘required of documents of public record which

are equally accessible to all parties.’” Ferrari v. County of Suffolk, 2013 U.S. Dist.

LEXIS 110789, at *16-17 n.7, 2013 WL 4017022 (E.D.N.Y. Aug. 6, 2013) (quoting

Krause v. Buffalo & Erie Cnty. Workforce Dev. Consortium, Inc., 426 F. Supp. 2d

68, 90 (W.D.N.Y. 2005)). CSXT was not required to produce the publicly available

NOAA records, and Fed. R. Civ. P. 37(c) provides no basis for exclusion. Id.

      More to the point, Fed. R. Evid. 201 authorizes the Court to take judicial

notice of a public record—either sua sponte or upon request—at any stage in the

proceedings. See Fed. R. Evid. 201(c) & (d). Plaintiff has had ample time to

evaluate and respond to CSXT’s exhibit and has articulated no prejudice which

would arise from the Court or the jury’s consideration of these facts. Accordingly,



2011); Pryor v. City of Chicago, No. 07-C-2479, 2010 U.S. Dist. LEXIS 8072, 2010
WL 431470, at *2 & n. 1 (N.D. Ill. Feb. 1, 2010); Doran v. Contoocook Valley Sch.
Dist., 616 F. Supp. 2d 184, 194 & n. 8 (D.N.H. 2009); Pate v. Norris, No. 4:05-CV-
00491, 2007 WL 990698, at *19 & n. 10 (E.D. Ark. Mar. 29, 2007); Allen v.
Ashcroft, Civil No. 03-441-MJR, 2006 U.S. Dist. LEXIS 46139, 2006 WL 1882672,
at *6 (S.D. Ill. July 7, 2006); Chubb & Son, Inc. v. Kelleher, No. 92-CV-4484, 2006
U.S. Dist. LEXIS 67879, 2006 WL 2711543, at *4, n.2 (E.D.N.Y. Sept. 21, 2006);
Freeman v. Berge, No. 03-C-0021-C, 2003 U.S. Dist. LEXIS 26763, 2003 WL
23272395, at *13 (W.D. Wis. Dec. 17, 2003)); see also Sanchez v. City of Fresno,
2014 U.S. Dist. LEXIS 67863, at *9 n.7 (E.D. Cal. May 16, 2014) (concluding that
weather data was proper subject of judicial notice because “the information
contained therein can be determined from sources whose accuracy cannot
reasonably be questioned”); In re Davenport Bev. Corp., 505 B.R. 374, 382 (Bankr.
D. Mass. 2014) (taking judicial notice of weather conditions as reported on NOAA
website).
                                         23
       Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 24 of 25




the Court should take judicial notice of the undisputed facts recorded in the NOAA

reports.20

                               III. CONCLUSION

       For all of the foregoing reasons, CSXT requests that this omnibus motion in

limine be granted in toto.

       Respectfully submitted this 25th day of June, 2015.

                                      By:     /s/ James W. Purcell
                                            James W. Purcell, Esq.
                                            Georgia Bar No. 589850
                                            FULCHER HAGLER LLP
                                            P.O. Box 1477
                                            Augusta, Georgia 30903-1477
                                            Telephone: (706) 724-0171
                                            E-Mail: jpurcell@fulcherlaw.com
John W. Baker, Jr., Esq., BPR #001261 J. Anderson Davis, Esq.
BAKER, O’KANE, ATKINS &                  BRINSON ASKEW BERRY SIEGLER
THOMPSON                                 RICHARDSON & DAVIS, LLP
P.O. Box 1708                            P.O. Box 5007
Knoxville, Tennessee 37901-1708          Rome, GA 30162-5007
Telephone: (865) 637-5600                Telephone (706) 291-8853
E-mail: jbaker@boatlf.com               E-mail: adavis@brinson-askew.com
                             Attorneys for Defendant

20
  See KFD Enters., Inc. v. City of Eureka, 2014 U.S. Dist. LEXIS 64616, at *10-11,
2014 WL 1877532 (N.D. Cal. May 9, 2014) (taking judicial notice of public records
and rejecting objection that the records should have been produced in discovery);
Estate of Torres v. Terhune, 2002 U.S. Dist. LEXIS 1134, at *4-5 (E.D. Cal. Jan. 9,
2002) (taking judicial notice despite objection that exhibit was not produced in
discovery); see also Fowler v. Crawford, 2007 U.S. Dist. LEXIS 53070, at *2-4,
2007 WL 2137803 (W.D. Mo. July 23, 2007) (refusing to strike public records
which were not disclosed prior to summary judgment).
                                         24
      Case 4:13-cv-00307-HLM Document 107 Filed 06/25/15 Page 25 of 25




               CERTIFICATES OF COMPLIANCE & SERVICE

      I hereby certify that the foregoing document has been prepared with one of

the font and point selections approved by the Court in LR 5.1C (Times New Roman,

14 pt.) for documents prepared by computer. I further certify that I have this 25th

day of June, 2015, electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system, which will automatically send e-mail notification of such

filing to the following attorneys of record:

                    Michael Warshauer, Esq.
                    Trent Shuping, Esq.
                    Warshauer Law Group, P.C.
                    2740 Bert Adams Road
                    Atlanta, GA 30339
                    MJW@warlawgroup.com

                    Randall D. Larramore, Esq.
                    Pamela R. O’Dwyer, Esq.
                    Paty Rymer & Ulin, PC
                    19 Patten Parkway
                    Chattanooga, TN 37402
                    r-larramore@prandulaw.com

                                        By:     /s/ James W. Purcell




                                           25
